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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-175-TJK
                                                   )
 ETHAN NORDEAN, et al.,                            )
                                                   )
        Defendants.                                )
                                                   )

 DEFENDANT NORDEAN’S OPPOSITION TO THE GOVERNMENT’S MOTION TO
           CONTINUE MARCH 8, 2022 STATUS CONFERENCE

       On March 6, 2022, the government filed an under-seal motion to continue the status

conferences scheduled in this matter on March 8. ECF No. 299. The Court should deny the

motion, which should not have been filed under seal. LCrR 49(f)(6).

       The government’s stated reason for postponing the hearing is that one conference is

scheduled at 10:00 a.m. for Defendants Biggs, Rehl and Donohoe while Nordean’s conference is

to be held at 2:00 p.m. Nordean cannot participate in the 10:00 a.m. hearing, the government

represents, because he is now detained at Northern Neck Regional Jail (NNRJ), “where virtual

hearings are only held between 2:00 p.m. and 4:00 p.m.” ECF No. 299, p. 1.

       After filing its motion, the government was advised that Nordean’s presence is not

required at the conference under the federal rules, Fed. R. Crim. P. 43(b)(3), and even if it were,

he waives that right. Counsel for Nordean will attend the 10:00 a.m. hearing on March 8, which

can therefore proceed with all parties present. There is no need for a continuance. As of the

filing of this response, the government has not withdrawn its motion, as it should.

       Even if Nordean’s presence were required at the conference notwithstanding Rule 43 and

his waiver, he would not need to attend during NNRJ’s apparently limited video teleconferencing

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hours but by dialing in. That is how Nordean has attended virtually all of the status conferences

to date.

           Continuing the status conference is not just unnecessary but prejudicial. Tuesday, March

15, the date proposed by the government, does not work for Nordean’s counsel. It also falls only

one day before the deadline set by the Court for pretrial motions. Given already pending

motions and motions Nordean anticipates filing in the near future, the parties will need more than

one day to coordinate with the Court regarding scheduling. One of Nordean’s outstanding

motions regarding the service of a trial subpoena on a witness whose statements contain Brady

material was filed in December 2021; further delaying resolution of this issue will prejudice the

defense’s ability to secure the witness’s essential testimony.

           Then the Court must consider the government’s continuous discovery productions. On

February 10, the government filed a status memorandum stating that “it does not anticipate”

being able to complete its discovery obligations by the May 16, 2022 trial date. ECF No. 290, p.

20. Since that time, the government has made approximately eight additional discovery

productions. Its motion to continue the status conference says it “anticipates providing a further

discovery update to counsel and the Court in advance of the proposed March 15, 2022 status

hearing.” ECF No. 299, p. 2. But it does not make sense for the government to advise the

defense and Court on how close it will be to completing discovery production only one day

before the parties’ pretrial motions must be filed. If it appears that the government will be forced

to seek a trial continuance, the defense should be notified now, before it wastes time preparing

pretrial motions on the assumption they must be filed by March 16.

           For all these reasons, the Court should deny the government’s motion and maintain the

March 8 status conference at 10:00 a.m., which will be attended by Nordean’s counsel.



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Dated: March 6, 2022                        Respectfully submitted,

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                                     Certificate of Service

       I hereby certify that on the 6th day of March, 2022, I filed the foregoing opposition with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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